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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF                    CR. NO. 17-00101-LEK
   AMERICA,
                                       DEFENDANT’S “MOTION TO
          Plaintiff,                   DEMAND IMMEDIATE
                                       RELEASE;” DECLARATION
         v.                            OF COUNSEL; EXHIBIT “A”’
                                       CERTIFICATE OF SERVICE

   ANTHONY T. WILLIAMS,

          Defendant.


                       DEFENDANT’S “MOTION
                  TO DEMAND IMMEDIATE RELEASE”

   Comes now, the Defendant Anthony T. Williams, by and through

   his standby counsel, Lars Robert Isaacson, Esq., and hereby

   provides DEFENDANT’S “MOTION TO DEMAND IMMEDIATE

   RELEASE;” Declaration of Counsel and Exhibit “A.”
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      Dated: July 22, 2019




                                      /s/ Lars Isaacson
                                 LARS ROBERT ISAACSON
                                 Standby Attorney for
                                 Defendant Anthony T. Williams
